Case 1:23-cv-00108-LMB-JFA Document 732 Filed 06/05/24 Page 1 of 2 PageID# 18729




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.

                              GOOGLE LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C) and the Protective Order (Dkt. 203), Defendant Google

  LLC (“Google”), through its undersigned counsel, hereby respectfully moves this Court to seal

  portions of Exhibit 22 attached to its Reply in Support of Its Motion to Dismiss the United States’

  Damages Claim and to Strike the Jury Demand as well as certain portions of its Reply in Support

  of Its Motion to Dismiss the United States’ Damages Claim and to Strike the Jury Demand.

  Portions of Exhibit 22 and portions of the Reply contain material Plaintiffs have designated as

  confidential or highly confidential. Consistent with the local rule and this Court’s Electronic Case

  Filing Policies and Procedures, undersigned counsel have filed the materials at issue using the

  sealed filing event on CM/ECF and hereby certify that they will serve a copy on opposing counsel

  and deliver a copy to this Court in a separate container labeled “UNDER SEAL.” The grounds for

  this motion are contained in the memorandum of law concurrently filed in support of this motion.

  A proposed order is attached for the Court’s convenience.
Case 1:23-cv-00108-LMB-JFA Document 732 Filed 06/05/24 Page 2 of 2 PageID# 18730




  Dated: June 5, 2024                  Respectfully submitted,

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